      Case 3:17-cr-00399-JLS      Document 27      Filed 03/16/17   PageID.72        Page 1 of 1


                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA                             Wfi §T[)
UNITED STATES OF AMERICA,                                                              Mar i g pm frff
                                                         Case No. 17^399-^1^^^com

                                      Plaintiff,                                w?        /VI      WBKtj

                      vs.
                                                         JUDGMENT OF DISMISSAL
CHRISTINE KEITH (2),

                                    Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

|—I   an indictment has been filed in another case against the defendant and the Court has
       granted the motion of the Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or
□
[Xl   the Court has granted the motion of the Government for dismissal, without prejudice; or

□     the Court has granted the motion of the defendant for a judgment of acquittal; or

□     a jury has been waived, and the Court has found the defendant not guilty; or

□     the jury has returned its verdict, finding the defendant not guilty;

[X]   of the offense(s) as charged in the Information:
      21:952, 960; 18:2 - Importation of Methamphetamine and Aiding and Abetting (Felony)




Dated: 3/14/2017
                                                   Hon. Nita L. Stormes
                                                   United States Magistrate Judge
